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                                                      EXHIBIT I
                             Action by Written Consent of JL Powell LLC Board 02-10-11
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                                                               Complaint for Declaratory Relief
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        ACTION TAKEN BY UNANIMOUS WRITTEN CONSENT OF BOARD OF
                     DIRECTORS IN LIEU OF MEETING

                                       JL POWELL LLC


         The undersigned, being all of the members of the Board of Directors of JL Powell LLC,
 a Delaware limited liability company (the “Company”), hereby consent to the taking of, and
 hereby take, the following actions, such actions being stated in the form of, and to be fully
 effective as if taken by, unanimous resolution or resolutions of the Board of Directors of the
 Company at a meeting duly called and held on the date hereof at which all of the undersigned
 Directors were present in person and acted throughout:

          WHEREAS, the Directors deem it to be in the best interests of the Company and its
 members (the “Members”) for the Company (i) to authorize, ratify, approve , confirm, and enter
 into a financing arrangement with Blue Highways Holdings III, LLC, a Member of the Company
 (“BHH”), on the terms (the “Financing Terms”) set forth in a Convertible Note of the Company
 (the “Note”) and the Loan and Security Agreement (the “Loan Agreement,” and together with
 the Note, the “Credit Facility”), between the Company and BHH, each in substantially the form
 previously reviewed by the undersigned, pursuant to which the Company has, subject to the
 terms of the Credit Facility, borrowed an aggregate principal amount of $400,000 ($250,000 on
 December 20, 2010 and $150,000 on February 1, 2011 (the “Borrowings”), and may, subject to
 the terms of the Credit Facility, borrow up to an additional aggregate principal amount of
 $100,000 (i.e., a maximum aggregate principal amount of $500,000) to finance current and
 projected expenses and capital requirements of the Company, and (ii) to increase the Company’s
 authorized capital so that the total authorized capital of the Company is increased by an
 additional 120,000 Class A Units (the “Additional Class A Units”), which Additional Class A
 Units shall be reserved for issuance, and are hereby authorized to be issued solely upon
 conversion of any or all of the amounts due under the Notes up to the amount to be issued in
 satisfaction of the exercised conversion rights, and (iii) to execute and deliver the Note and
 perform its obligations thereunder and consummate the transactions contemplated thereby;

         NOW, THEREFORE, BE IT RESOLVED: that the Company hereby authorize, ratify,
 approve and confirm the Withdrawals, subject to the terms of the Credit Facility, and be, and
 hereby is, authorized to enter into the Credit Facility and to borrow from BHH up to an
 additional aggregate principal amount of $100,000 (i.e., an aggregate original principal amount
 of up to (but not to exceed) $500,000) on the terms set forth in the Note and the Loan
 Agreement, and that Chief Executive Officer of the Company be, and hereby is, authorized to
 execute and deliver to BHH on behalf of the Company the Loan Agreement and the Note, and to
 take such other actions and execute, and deliver on behalf of the Company such documents,
 certificates, agreements, and other instruments as may be necessary or appropriate to carry out
 the financing transaction contemplated by the Credit Facility and authorized by these resolutions
 and to cause the Company to perform its obligations thereunder, and that the Credit Facility, the
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